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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
                                                        :
VINCI BRANDS LLC,                                       :     Civil Action No. 1:23-CV-05138
                                                        :
                                    Plaintiff,              Case-Mate's motion to dismiss at Dkt. 206 and KSNY's
                                                        :
                                                            motion to dismiss at Dkt. 222 are DENIED without
                                                        :
                      vs.                               :   prejudice to renewal if Vinci's motion for leave to file a
                                                        :   third amended complaint is denied.
COACH SERVICES, INC., KATE SPADE,
                                                        :
LLC, TAPESTRY, INC., and CASE-MATE,                         The Clerk of Court is respectfully directed to close the
                                                        :
INC.,                                                       motions at Dkts. 206 and 222. So Ordered.
                                                        :
                                    Defendants.         :
                                                        :   Dated: July 8, 2024
                                                                   New York, New York
------------------------------------------------------- :
                                                        X

    PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO FILE A THIRD AMENDED
                              COMPLAINT

        PLEASE TAKE NOTICE that, upon the annexed Memorandum of Law, Declaration of

Charles H. Low and Exhibits A and B annexed thereto, Plaintiff Vinci Brands LLC (“Vinci”), by

and through its undersigned counsel, will move this Court before the Honorable Valerie Figueredo

at the United States Courthouse for the Southern District of New York, 500 Pearl Street, New

York, New York, for an order granting Vinci’s motion to amend its complaint pursuant to Federal

Rule of Civil Procedure 15(a)(2)

Dated: New York, New York                                   Respectfully submitted,
       July 3, 2024
                                                            COOLEY LLP

                                                            By:    /s/ Russell Capone
                                                                   Russell Capone
                                                            Charles Low
                                                            55 Hudson Yards
                                                            New York, New York 10001
                                                            Phone: (212) 429-6800
                                                            Email: rcapone@cooley.com
                                                                   chlow@cooley.com
                                                            and

                                                            Michael Vatis
                                                            BENESCH, FRIEDLANDER, COPLAN
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                                     Attorneys for Plaintiff Vinci Brands LLC




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